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 1
                       UNITED STATES DISTRICT COURT
2                           DISTRICT OF NEVADA
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3
     UNITED STATES OF AMERICA,                  )Case No.:2:17‑cr‐ 00180‑JAD― PAL
                                                    )
4
                     Plaintift                      )ORDER FORISSUANCE OF
                                                    )WRIT OF HABEAS CORPUS
 5
           VS.
                                                    )AD PROSEQUENDUM FOR
                                                    )DOMINIQUE WASHINGTON
 6                                                  ) (SPN#)02773013
     DOMINIQUE WASHINGTON,                  )
     Aka: Do Wash,                                  )
 7
                                                    )

                     Defendant.                     )
 8                                                  )



 9
            Upon reading the petition of the United States Attorney for the District of Nevada, and
10
     good cause appearing therefore,
11
            IT IS HEREBY ORDERED that a Writ of Habeas Corpus Ad Prosequendum issue out of
12
     this Court, directing the production of the body of the said DOMINIQUE WASHINGTON
13
     before the United States District Court at Las Vegas, Nevada, on or about Tuesday, July 11'
14
     20lT,Courtroom 3A, GWF, for arraignment and any further proceedings and from time to time
15
     and day to day thereafter until excused by the said Court.
16
                     DATED:June 26,2017
17
                                                  UNITED STATES MAGISTRATE JUDGE
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         Case
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     Representing the United States ofAmerica
 7
                       UNITED STATES DISTRICT COURT
 8
                            DISTRICT OF NEVADA
                                                 ―oOo―
 9
     UNITED STATES OF AMERICA,                     )Case No.:2:17‑cr… 00180‑JAD‐ PAL
10                                                 )

                     Plaintift                     )AMENDED PETITION FOR WRIT OF
11
                                                   )HABEAS CORPUS AD PROSEQUENDUM
           VS.
                                                   )FOR DOMINIQUE WASHINGTON
12                                                 } (SPN#)02773013
     DOMINIQUE WASHINGTON,                         )
13   Aka: Do Wash,                                 )
                                                   )

14                   Defendant.                    )
                                                   )

15
            The petition of the United States Attorney for the District of Nevada respectfully shows
16
     that DOMINIQUE WASHINGTON, is committed by due process of law in the custody of the
17
     Major John Martin, Harris County Jail, Houston, Texas, that it is necessary that the said
18
     DOMINIQUE WASHINGTON be temporarily released under a Writ of Habeas Corpus Ad
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     Prosequendum so that the said DOMINIQUE WASHINGTON may be present before the
20
     United States District Court for the District of Nevada, Las Vegas, Nevada, on Tuesday, July 11,
21
     20L7, Courtroom 34, GWF, for arraignment and from time to time and day to day thereafter
22
     until excused by the said Court.
23
            That the presence of the said DOMINIQUE WASHINGTON before the United States
24
     District Court on or about Tuesday, July ll, 2017, Courtroom 3A, GWF, for arraignment and
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     from time to time and day to day thereafter until excused by the Court has been ordered by the
 ２




     United States Magistrate or District Judge for the District of Nevada.

            WHEREFORE, petitioner respectfully prays that a Writ of Habeas Corpus Ad

 4   Prosequendum issue out of this Court, directed to the Major John Martin, Harris County Jail,

 5   Houston, Texas, and to the United States Marshal for the District of Nevada, commanding them

 6   to produce the said DOMINIQUE WASHINGTON before the United States District Court on

 7   or about Tuesday, July 11, 2017, Courtroom 3A, GWF, for arraignment and from time to time

 8   and day to day thereafter, at such times and places as may be ordered and directed by the Court
 ９




     entitled above, to appear before the Court, and when excused by the said Court, to be returned to
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     the custody of the Major John Martin, Harris County Jail, Houston, Texas.
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                    DATED this 26 day of June,2017 .
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                                                  Respectfully submitted,
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                                                  STEVEN W. MYHRE
14                                                Acting United States Attorney

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16                                                KILBY MACFADDEN
                                                  Assistant United States Attorney
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